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                                                                                 2016 Apr-04 PM 03:28
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

ADTRAV CORPORATION,                      )
                                         )
        Plaintiff,                       )
                                         ) CIVIL ACTION FILE
                                         ) NO: 2-14-CV-0056-TMP-S
                                         )
V.                                       )
                                         )
DULUTH TRAVEL, INC.,                      )
                                         )
Defendant and Plaintiff in Counterclaim. )
__________________________________________________________________

  DULUTH TRAVEL INC.’S MOTION FOR CONTEMPT, SANCTIONS,
AND ADDITIONAL RELIEF PURSUANT TO THIS COURT’S ORDER OF
                       NOVEMBER 30, 2015
__________________________________________________________________

       COMES NOW Duluth Travel, Inc. (hereafter “Duluth”), and files this its

motion for contempt, sanctions, and additional appropriate relief pursuant to the

order entered by this Court on November 30, 2015.

                                 Introduction

       As the Court is well aware, the counterclaim asserted by Duluth in this action

is premised upon evidence that Plaintiff ADTRAV Corporation (hereafter

“ADTRAV”) misappropriated revenue earned by the Parties under Duluth’s contract

with the Veterans Administration for the provision of travel services (the “VA




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Contract”).1 Duluth contends that ADTRAV perpetuated this scheme in at least two

ways. First, ADTRAV utilized manipulative accounting practices in order to retain

greater amounts of revenue than it was entitled to receive with regard to the revenue

that ADTRAV actually reported to Duluth as having been collected pursuant to the

VA Contract. Second, ADTRAV collected revenue under the VA contract which it

never disclosed to nor shared with Duluth. This latter contention has now been

proven as a result of data obtained from third-party payors as set forth in the

supplemental expert witness report of Howard Zandman attached hereto as Exhibit

“A” (“Zandman Supplement”). While the findings of Mr. Zandman are, in Duluth’s

view, fatal both to the Plaintiff’s complaint and to the Plaintiff’s defense of the

counterclaim brought by Duluth, those findings are equally important for another

reason. They illustrate and confirm that ADTRAV has withheld critical evidence

from Duluth and from the Court, even now under compulsory process. For all of the

reasons set forth herein, Duluth prays that its Motion be granted and that appropriate

remedies be entered by this Court.

                                     Factual Background

        Since the inception of this litigation and indeed, for years before that date,

Duluth has sought the third-party payor data from which the Plaintiff was supposed

1
 Duluth, a service disabled veteran owned small business (SDVOSB) was awarded the prime
contract for the provision of travel services to the Veterans Administration in 2006. Each of the
two contracts at issue in this matter are subcontracts entered into between Duluth as the prime
contractor and ADTRAV as its subcontractor.

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to perform the accounting functions pursuant to its subcontract with Duluth. Each

week and each month and at other times over the course of the administration of that

subcontract, ADTRAV produced reports purporting to reflect 100% of the revenue

collected by ADTRAV arising from the provision of VA travel services under

Duluth’s prime contract with the VA. Duluth sought that third-party payor

information in an effort to verify that the revenue ADTRAV was reporting was

accurate. ADTRAV refused to provide the data both prior to the inception of this

lawsuit, during the course of discovery, and even now after the entry of an order

mandating its production. Given what Duluth has now discovered, it is readily

apparent why ADTRAV has refused to turn over this critical information.

       ADTRAV has maintained throughout the course of this litigation that

approximately $705,180 was collected in the form of hotel commissions while it was

tasked with performing the accounting for the Parties from 2008 through the end of

2013. This amount was reported by ADTRAV in its monthly commission reports to

Duluth. As set forth in the Zandman Supplement, an additional approximately

$260,000.00 (representing a 37% difference between what ADTRAV reported and

what Duluth has found thus far) has been identified in the form of hotel commissions

using third party data. Further, an additional $160,000.00 in transaction fees paid to

ADTRAV under the VA contract were never disclosed to Duluth either prior to this

lawsuit, during discovery, nor even now after an order was entered concerning in


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part, the adequacy of ADTRAV’s responses to Duluth’s discovery efforts. Duluth

points out to the Court that this unreported $420,000 was identified from a review

of only a limited percentage of the overall third-party data that would have reflected

the total commissions and transaction fees that were actually paid during the six

years in which ADTRAV controlled the accounting for the Parties. As discussed

further herein and below, Duluth believes that the missing $420,000.00 identified

thus far, represents the proverbial tip of the iceberg.

       In its initial Motion to Compel Duluth sought permission to have a third-

party forensic electronic discovery expert examine ADTRAV’s electronic records.

In light of the foregoing and the discussion which follows, Duluth again requests

that this Court order the Plaintiff to make its electronic records available to be

reviewed by such a third-party forensic expert. Further, and in light of the Plaintiff’s

conduct in this matter, Duluth requests as an appropriate remedy that the subject

search be at the Plaintiff’s expense.

       Duluth will not belabor the history of the Plaintiff’s refusal to respond to

discovery herein. However, a brief reiteration of the wholesale failure of the Plaintiff

to produce the third-party records that would reveal the true revenue actually paid to

the Plaintiff under the VA Contract, is important. From approximately page 103

through page 108 of Roger Hale’s deposition, Mr. Hale testifies concerning the huge

volume of third-party payment records which ADTRAV has contended have been


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lost or destroyed. Those include: all ARC weekly net remit reports from 2007

through November 2009 (pg. 103); ARC weekly summaries in 2010 for April 11, 18

and 25 as well as May 2 and August 1 (pg. 104); 2011 August 7, November 13, 20,

and 27; 2012 May 13, July 1, and November 18 (pg. 105); all Pegasus, TACS, and

NPC data files for 2007 through 2009 inclusive (pg. 105); all bank statements from

Red Mountain Bank from April 1, 2008 through closing of the account (pg. 105);

and all of the Aliant Bank Statements for the Parties’ joint account (pg. 106). This

despite the fact that ADTRAV’s former chief financial officer testified that

ADTRAV had a five-year document retention policy and despite the fact that the

applicable Federal Acquisition Regulations (“FAR”) mandate record retention for

three years after final payment. In this case that would mean until September of

2017. (See FAR 4.703, a copy of which is attached hereto as Exhibit “B.”).

       In the Order of November 30, 2015, the Court included the following

directive:

             IV.        INDIVIDUALLY-HELD                 OPERATING
             ACCOUNTS Both parties are directed to produce, within
             20 days, a list of all individually held bank accounts into
             which any revenue derived from the VA contract at issue
             was deposited. The parties shall provide: (1) the date of
             any such deposit, (2) the amount of the deposit, (3) the
             payor, (4) the account number, and (5) the bank name. No
             subpoenas shall be issued to any bank or in connection
             with any such account without first seeking and receiving
             court approval.



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      In response to this directive, ADTRAV provided a list of VA and Non-VA

deposits to individually held bank accounts. It is impossible for Duluth to reconcile

which deposits pertain to VA revenue from the information provided. ADTRAV

contends that it too is unable to separate VA commission deposits from commission

deposits from other sources. One might wonder how then, ADTRAV was ever able

to determine the volume of VA revenue that was to be divided between the Parties.

Of interest though is the fact that the deposits identified by ADTRAV comprise

approximately two million dollars in commission revenue. Duluth believes that in

light of the unreported commission revenue already identified, an independent

search of the bank records (and of all sources of ESI) is absolutely essential. The

exact number of all of those deposits listed was $2,195,871.08. Attached hereto as

Exhibit “C” is the Dec. 22, 2015 transmittal letter from ADTRAV’s counsel which

states, “Please note that the amount of the deposit includes, in many cases, revenue

that is not associated with the VA account.”

       In addition to the forgoing, in its order of November 30, 2015, the Court

mandated that Duluth provide a list of search terms to the Plaintiff such that the

Plaintiff could conduct an ESI search that might reveal what happened to the huge

amount of critically important third-party financial data. In its December 2, 2015

production, ADTRAV produced a list of places that data is stored, attached hereto

as Exhibit “D.” Thereafter, on December 7, 2015, Duluth provided search terms and


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specific instructions for searching the databases identified on Exhibit “C” and

requested a search report indicating metrics from the search terms used against the

specific sources of information, attached hereto as Exhibit “E.” The instructions for

reporting metrics were completely disregarded by ADTRAV. As a result, Duluth

and the Court remain completely in the dark concerning what ESI was searched or

how the search was conducted. Further, Duluth asked in the production instructions

that a load file be produced for the data which would indicate various fields of

metadata about the documents being produced. Again, these instructions were

ignored. Had search report metrics been provided as requested, Duluth would know

with certainty what ESI had been searched and how.

      Further, had these searches been done in keeping with the intent of the

exercise, metadata would have been produced that could have indicated when

information had been deleted and when third-party payor financial reports and data

had been deleted or destroyed (and whether it is recoverable). Lastly, it is abundantly

clear from ADTRAV’s production pursuant to this Court’s November 30, 2015

Order that ADTRAV did not search all of its sources of ESI. In totality, ADTRAV

produced nine (9) individual excel files, one (1) .pdf file, and one (1) large .pst file

(containing correspondence). While ADTRAV’s search yielded a large amount of

previously unproduced correspondence, the remaining 10 files do not nearly reflect

the remaining documents in ADTRAV’s possession. Obviously, none of the


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documents from earlier productions was located by ADTRAV’s electronic search

(again, search reports would indicate this information). Further, it cannot reasonably

be believed that only 10 files, aside from correspondence, exist in ADTRAV’s

universe of electronically stored information containing the search terms that Duluth

provided.

       It is important too, that the Court be apprised of how the financial data

produced by ADTRAV is compiled. ADTRAV produced its Trams records for 2007

through 2013 on or about December 22, 2015. These records purport to be a

complete record of all revenue paid to ADTRAV arising from Duluth’s prime

contract with the VA for the provision of travel services. However, it is not that

simple. The Trams data can be easily manipulated in order to present a completely

false picture of revenue received. Transactions entered into Trams can be re

classified as non-commissionable or even cancelled reservations when in reality the

third-party payor did in fact pay a commission. Duluth has found 2,524 transactions

in the Trams data produced by the Plaintiff which were identified as generating no

commission when in fact almost $80,000.00 in commissions were paid to Plaintiff

for these same transactions according to the data that Duluth received from the

relevant third parties. In addition, transactions can be recorded under a different

ARC number from the ARC number or numbers dedicated to the VA contract. In

that case, those transactions would not appear in the Plaintiff’s Trams report for the


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VA contract. Duluth has identified 6,506 transaction confirmation numbers totaling

$189,381 in commissions from third-party payor data which commissions appear

nowhere in the Trams data produced by ADTRAV. (See Zandman Supplement,

pages 1, 4).

       In keeping with this theme, once Duluth took over the accounting for the VA

contract in 2014, the volume of reported hotel bookings under the VA contract

inexplicably immediately doubled. This despite the fact that overall transactions

under the VA Contract remained relatively constant. As demonstrated in the

Zandman Supplement (see page 7), the total dollar volume of hotel bookings

reported by ADTRAV in its Trams for 2011, 2012, and 2013 was essentially eight

million dollars in each year. In the very first year in which Duluth finally controlled

the accounting (2014), the dollar volume of reported hotel bookings more than

doubled to over 16 million dollars as compared to the approximate eight million

dollars in annual sales reported by ADTRAV for the prior three years. The same

increase in volume occurred during 2015 suggesting strongly that this discrepancy

in reporting was no anomaly.

       The magnitude of the under-reported revenue identified from only a

percentage of the third-party payors, together with the inexplicable increase in hotel

bookings immediately upon Duluth taking over the accounting function, makes it

clear that the relief sought by Duluth herein is not only appropriate but necessary.


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                      Argument and Citation of Authorities

              In light of the facts as discussed above, the need for an independently

administered forensic search of the Plaintiff’s ESI as well as its bank accounts is

clear. In denying Duluth’s request for a third-party forensic analysis of ADTRAV’s

ESI, the Court noted in its Order that:

             ADTRAV and Duluth have agreed to a search of
             ADTRAV’s Electronically Stored Information (“ESI”),
             but were unable to reach an agreement about how that
             search shall be performed. The court finds that Duluth’s
             desire to have an independent third-party conduct the
             search is unwarranted at this time. In keeping with the
             dictate of the Eleventh Circuit Court of Appeals, a party is
             not due to be given “unrestricted, direct access” to the
             opponent’s database. In re Ford Motor Co., 345 F.3d at
             1316-17 (11th Cir. 2003).

(Emphasis added). The Court specifically noted that, at the time, ordering a third-

party forensic analysis was unwarranted. However, given the circumstances as

discussed herein and above, and Duluth’s discovery from third parties of additional

revenues that ADTRAV failed to report, Duluth again moves the Court to order that

an independent third-party forensic analyst be allowed to conduct a search of

ADTRAV’s ESI.

      The Court in In re Ford Motor Co., 345 F.3d 1315 (11th Cir. 2003), cited by

this Court in its Order, recognized that:

             Without constraints, the [district court’s] order grants [the
             plaintiff] access to information that would not—and
             should not—otherwise be discoverable without [the

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               defendant] first having had an opportunity to object. While
               some kind of direct access might be permissible in certain
               cases, this case has not been shown to be one of those
               cases. [The plaintiff] is unentitled to this kind of discovery
               without—at the outset—a factual finding of some non-
               compliance with discovery rules by [the defendant].

Id. at 317. The Ford Motor Court specifically noted that in the face of a party’s non-

compliance with discovery rules, the opposing party’s direct access to the party’s

computer data/ESI “might be permissible in certain cases….” Id. Further, this Court

should also note that In re: Ford Motor Co. is clearly distinguishable from the

present case in that, Duluth, as a party, does not seek direct, unfettered access to

ADTRAV’s ESI. Rather, Duluth seeks the use of a neutral, independent third-party

expert to access Plaintiff’s ESI. The 11th Circuit Court of Appeals in In re: Ford

Motor Co. specifically took issue with a party’s (rather than a neutral’s) direct access

to ESI.

      In the present matter, this Court is faced with circumstances where a party has

failed to comply with not only the discovery rules, but this Court’s November 30,

2015 Order. As Duluth has discovered through its own analysis of the limited third-

party payor information it has been able to obtain, ADTRAV failed to report

substantial amounts of revenues earned and collected under Duluth’s contract with

the VA and lost or destroyed data that would have shown such revenues. See Bank

of Mongolia v. M & P Global Financial Services, Inc., 258 F.R.D. 514 (S.D. Fla.

2003) (where the Court held that, “based on the discrepancies between Defendants’

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Response to Plaintiff's Requests for Production and their concession at the hearing

that not all documents have yet been produced, and particularly in light of the

recovery of apparently responsive documents by the Plaintiffs from third-party

sources, the Court determined that an independent expert should be appointed to

retrieve any deleted responsive files from Defendants’ computers.”). “Deleted

computer files, … whether e-mails or otherwise, are discoverable.” Id. at 519.2

       Duluth is not seeking direct, unfettered access to ADTRAV’s ESI and admits

and acknowledges that certain information contained within the ESI will not be

material or relevant to the issues in this case and may be confidential and/or

proprietary. With that acknowledgement, however, the fact that some of the

information may not be discoverable or may be protected does not preclude this

Court from granting Duluth’s motion and, thereafter, imposing appropriate

safeguards on any independent third-party forensic analysis.3 In Procaps S.A. v.

Patheon Inc., WL 800468 (S.D. Fla. 2014), a case that is factually similar to this

case, the 11th Circuit Court ordered the delinquent party to:

2
  Further, when a party reasonably anticipates litigation, it “must suspend its routine document
retention/destruction policy and put in place a ‘litigation hold’ to ensure the preservation of
relevant documents.” Point Blank Solutions, Inc. v. Toyobo Am., Inc., 2011 WL 1456029, *11
(S.D. Fla. 2011).
3
  See e.g., John B. v. Goetz, 531 F.3d 448 (6th Cir. 2008) (the Court noting that, “[a]s a general
matter, it is beyond question that a party to civil litigation has a duty to preserve relevant
information, including ESI, when that party ‘has notice that the evidence is relevant to litigation
or ... should have known that the evidence may be relevant to future litigation.’ … It is the
responsibility of the parties to ensure that relevant ESI is preserved, and when that duty is breached,
a district court may exercise its authority to impose appropriate discovery sanctions. See
Fed.R.Civ.P. 37(b), (e).”)

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     1. engage an expert to conduct a forensic analysis of ESI
     as a neutral third-party and not as an agent, representative,
     or expert of either party;

     2. allow the expert to interview the head of IT to
     understand the architecture of the producing party’s
     computer systems and retention/backup procedures;

     3. have the expert use a list of search terms, a reasonable
     procedure to refine those terms, and suitable format for
     production, including specific metadata fields to be
     provided;

     4. make available to the expert all sources of ESI to make
     a forensic image of each source of ESI;

     5. attempt to recover any user-created files that were
     deleted after a specific date, providing a written report of
     any files unable to be recovered, the date the files were
     deleted, and from what electronic data the files were
     deleted from;

     6. have the expert run the search terms on all ESI collected
     and produce a report regarding the number of document
     hits from the search terms (and if necessary run a refined
     search);

     7. after completing the search, run de-duplication of exact
     copies (“exact copies” refers to those documents that have
     identical MD5 or SHA1 hash values) on the documents
     uncovered by the search (Uncovered Documents);

     8. produce to the producing party’s counsel the Uncovered
     Documents for review and allow the same to withhold
     documents considered privileged or subject to work
     product;

     9. produce to the requesting party all non-privileged
     Uncovered Documents (if any), including any redacted


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             documents, and a privilege log to the extent one exists of
             withheld Uncovered Documents;

             10. pay all of the expert’s fees, costs, and expenses that the
             expert incurred in connection with the work performed
             pursuant to the order;

             11. adequately staff the project to meet the court’s
             deadlines; and

             12. provide the requesting party an opportunity to seek
             additional fees or sanctions after reviewing the Uncovered
             Documents.

See Procaps 2014 WL 800468 at *3-6. Procaps provides guidance to this Court and

the parties for a reasonable way that ADTRAV’s ESI can be properly searched

without Duluth becoming privy to confidential and/or proprietary information from

ADTRAV that is neither material nor relevant to the issues in this case, but that does

provide Duluth with the discovery to which it is entitled.

      Based on the foregoing facts and case law, there are more than ample grounds

for this Court to grant Duluth’s motion and, thereafter, impose appropriate

safeguards on any independent third-party forensic analysis and levy the appropriate

sanctions against ADTRAV.

                                 Conclusion

       ADTRAV has maintained that it reported all revenue earned under the VA

Contract to Duluth as it was required to do. This contention has been proven to be

untrue. ADTRAV has maintained that it lost or destroyed huge amounts of third-


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party data and records from which the scope of ADTRAV’s failure to report revenue

could have been ascertained. No information concerning when this data was

destroyed or whether it was recoverable was included in ADTRAV’s responses to

the Court’s order. Further, ADTRAV did not comply with the Court’s directive

concerning identification of deposits into ADTRAV bank accounts that represented

revenue earned under the VA Contract. Duluth has been forced to go to extraordinary

extremes in an effort to obtain financial information which the Plaintiff was required

by law to maintain (but did not) and has been met with an unrelenting refusal on the

part of ADTRAV to turn over that critical information.

       ADTRAV has pervasively refused to cooperate in the discovery process in

an action which it initiated. ADTRAV has failed to comply with this Court’s order

of November 30, 2015. Duluth has uncovered evidence from third parties that

ADTRAV did indeed fail to report significant revenue to Duluth. ADTRAV

continues to claim that much of the third-party financial data that could have been

used to verify actual revenue paid under the VA Contract has been lost or destroyed.

ADTRAV’s search of its ESI was wholly inadequate.

       In light of all of the forgoing, it would work a manifest injustice on Duluth

if a third-party expert in the area of searching and restoring electronically stored

information was not allowed to search ADTRAV’s records. Further and under the




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circumstances, it would be wholly appropriate for this Court to order ADTRAV to

pay the costs of that search.4

                                            Respectfully submitted,


                                            /s/ D. Michael Sweetnam
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4
  Duluth specifically reserves any right it may have to assert spoliation objections and to seek
appropriate sanctions for any such spoliation of evidence.

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                        CERTIFICATE OF SERVICE

      I hereby certify that I have filed a copy of the foregoing using the Court’s
CM/ECF electronic filing system which will serve a copy upon the following
counsel of record on this the 4th day of April, 2016:

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                                     /s/ Jim H. Wilson
                                     OF COUNSEL




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